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 7
                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON
 8
                                 AT SEATTLE
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10        UNITED STATES OF AMERICA,             CASE NO. C12-1282JLR

11                          Plaintiff,          LETTER
                 v.
12
          CITY OF SEATTLE,
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                            Defendant.
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     ORDER - 1
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               Proactive Persistent People for Progress (P4)


May 11, 2023                                             SENT VIA EMAIL

The Honorable Judge James L. Robart
United States Courthouse
700 Stewart St., Suite 1412B
Seattle, WA 98101-9906

RE: Case No. 2:12-cv-01282-JLR: JOINT MOTION TO APPROVE
COMPLIANCE AGREEMENT and Civil Action No. 12-CV-1282
AGREEMENT ON SUSTAINED COMPLIANCE AND STIPULATED
(PROPOSED) ORDER OF RESOLUTION


Dear Judge Robart,
We write on behalf of Proactive Persistent People for Progress (P4), a local
group working to strengthen democracy and advocate for progressive values
since 2016. Our Criminal Legal System and Policing (CLS & Policing)
Committee, active since 2020, has made a significant investment in learning
about police accountability and oversight in Seattle, with a focus on the
history of the Consent Decree (CD) and the work of all of the entities
involved in its implementation. We followed closely the work of the Federal
Monitor, Dr. Oftelie, as he completed the Comprehensive Assessment of the
Seattle Police Department in 2022. We have actively engaged with multiple
City elected officials, Seattle Police Department (SPD) leadership and staff,
the Accountability Triad - Community Police Commission (CPC), the
Office of the Inspector General (OIG), and the Office of Police
Accountability (OPA) - past City police accountability staff, and other
citizen activists to support just and equitable policing in Seattle.

We want to thank you for your work on this important issue. While Seattle’s
elected officials, the Chief of Police, and U.S. Attorneys have come and
gone, you bring the full history of the Consent Decree to bear as you
consider this joint motion.

We acknowledge the progress the City has made in its work to satisfy the
requirements of the CD, especially SPD’s extensive data collection system.
We question, however, whether durable change in police culture has been
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achieved. For example, based on the published SPD data set, use of force is
down, but data regarding racial disparities in those incidents remain largely
unchanged. Further, the Court Monitor and the OIG have all pointed to the
lack of perceived legitimacy on the part of Seattle residents which,
unfortunately, extends beyond the SPD. Examples of actions or inaction that
have contributed to this gap in trust include: the approval of the Seattle
Police Officers Guild (SPOG) contract that gutted the City’s own 2017
Accountability Ordinance; the very recent payment by the City to the
whistleblower who disclosed the manual deletion of the texts and emails of
former Mayor and Police Chief, as well as the current Fire Chief, during the
2020 protests; the ever changing explanation of SPD’s abandonment of the
East Precinct in the summer of 2020; and the recent lawsuit filed by a
veteran Black female SPD officer alleging racial bias and harassment in the
workplace. The Hold-the Line podcast of SPOG President Mike Solan
provides a window into SPD culture that belies the intent of the Consent
Decree. (https://podcasts.apple.com/us/podcast/hold-the-line-with-mike-
solan/id1542167755)

We appreciate that the Joint Motion to Approve the Compliance Agreement
and the Proposed Order of Resolution have called out areas in which the
City will continue to work including individual police accountability,
disparate racial impacts in policing, and crowd control. As you deliberate
on the Joint Motion, we encourage you to consider additional elements that
will move the City further toward building trust and perceived legitimacy
between the community and the SPD.

Upcoming Labor Agreement between the City and the Seattle Police
Officers Guild (SPOG):
It is impossible to separate the issue of accountability from the substantive
collective bargaining agreement currently being negotiated between the City
and its largest police union, SPOG.

In the past, the City has promised significant police accountability measures
(2017 Accountability Ordinance) only to fail to implement such measures in
labor agreements with the relevant unions. While we recognize
improvements in the 2022 Seattle Police Management Association (SPMA)
agreement over previous contracts, we continue to be troubled by “poison
pill” language that seems to subvert movement toward improving police
accountability in Seattle, i.e. “where the language of the contract or the past
practices of the Department grant the officer greater rights, the greater
rights shall pertain”. This language appears to substantially obstruct the
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implementation of disciplinary policies that reflect community concerns and
evolving thinking on best practices in policing.

While we are strong supporters of workers’ rights to collectively bargain
working conditions and wages, we equally recognize the unique position,
power and responsibility that police have in our society. As the Washington
Coalition for Police Accountability (WCPA) states: “Police hold state-
sanctioned power over life and death. They can de-escalate crises rather
than escalate them. They can treat those they suspect of committing crimes
with dignity, and stabilize dangerous situations safely and humanely. Every
person’s life is sacred.”

We respectfully ask that allowing the City to exit the CD be made contingent
on securing a SPOG contract that includes the 2017 Accountability
Ordinance provisions and deletes the “poison pill” language.

Ensure that the City’s Accountability Triad (CPC, OPA, OIG) has the
necessary authority, resources, and enforcement capability to carry out
its mission. Establish mechanisms to protect its independence from
political entities.

We are encouraged that the Federal Monitor has begun its assessment of the
performance and capacity assessment of the City’s accountability system.
We provided our assessment of the triad organizations’ strengths and
weaknesses in our March 24, 2024 letter to Dr. Rosenthal (sent March 28,
2023 and copied to the Court).

We ask that you consider, as part of the Compliance Agreement, a
requirement that the City ensure that the CPC, OPA, and OIG have “the
optimal policies, structures, systems, processes, and human capital to adapt
to community needs and sustainably deliver results.” (Federal Monitor’s
Comprehensive Assessment of the Seattle Police Department, May 2022.)

We offer our comments in hope that the real progress made over the past
eleven years is not lost when the Consent Decree ends. We believe that the
Federal Court has an opportunity to ensure that mechanisms are in place to
sustain these gains and that the infrastructure for continuous improvement in
SPD policy and practice is robust. As the Consent Decree appears to be
reaching its conclusion, we urge you to exercise your influence to promote
continued movement toward more just and accountable policing in Seattle.
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We appreciate your oversight throughout the long history of the Consent
Decree in Seattle and thank you for the opportunity to offer our perspective
on future actions needed in Seattle Police policy and practice to restore and
maintain community trust.



Sincerely yours, on behalf of Proactive Persistent People for Progress (P4)
Agnes Govern, M.P.A., former Sound Transit’s Chief Operating Officer
(retired)

Kim Pasciuto, J.D., former Assistant Corporate Secretary, The Boeing
Company; Co-founder of Mayor’s Small Business Award-winning La
Panzanella, Inc.

Donna Stringer, Ph.D., Founder and retired President, Executive Diversity
Services, active member and former Board member of Grandmothers
Against Gun Violence

Amy Sommers, J.D., former Chief Representative K&L Gates Shanghai,
China office (retired)

Dena Brownstein, MD, Associate Professor Emeritus, University of
Washington School of Medicine, former Medical Director, Patient Safety,
Seattle Children’s


cc:
Bruce Harrell, Mayor, City of Seattle
U.S. Attorney Nicholas W. Brown
Seattle City Councilmembers: Herbold, Juarez, Lewis, Morales, Mosqueda,
Nelson, Pedersen, Sawant, Strauss
Dr. Antonio Oftelie, Federal Monitor
Ron Ward, Federal Monitoring Team
Matthew Barge, Federal Monitoring Team
Vanessa Wheeler, Federal Monitoring Team
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Dr. Richard Rosenthal, Consultant, Accountability Triad Assessment
Reverend Patricia Hunter, CPC Co-Chair
Joel Merkel, CPC Co-Chair
Reverend Harriet Walden, CPC Co-Chair
Dr. Cali Ellis, Interim Executive Director, City of Seattle CPC
Lisa Judge, Inspector General, City of Seattle OIG
Gino Betts, Director, City of Seattle OPA
Adrian Diaz, Police Chief, City of Seattle
Monisha Harrell, Senior Deputy Mayor, City of Seattle
Andrew Myerburg, Special Projects Director, Mayor’s Office, City of Seattle
